     Case 8:22-bk-10948-SC        Doc 37 Filed 06/10/22 Entered 06/10/22 13:35:55                         Desc
                                   Main Document Page 1 of 2


11   RON BENDER (SBN 143364)
     KRIKOR J. MESHEFEJIAN (SBN 255030)
22   LINDSEY L. SMITH (SBN 265401)                        FILED & ENTERED
33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
     2818 La Cienega Avenue
44   Los Angeles, California 90034                             JUN 10 2022
     Telephone: (310) 229-1234; Facsimile: (310) 229-1244
55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM     CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
66   Proposed Attorneys for Chapter 11 Debtors
                                                                         BY mccall     DEPUTY CLERK



77   and Debtors in Possession

88                             UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
99                                    SANTA ANA DIVISION

10
10   In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11   TRX HOLDCO, LLC, a Delaware limited              (Jointly administered with:
     liability company,                               8:22-bk-10949-SC
12
12
13
13           Debtor and Debtor in Possession.         Chapter 11 Cases
     ____________________________________
14
14   In re:                                           ORDER    GRANTING   DEBTORS’
                                                      EMERGENCY MOTION FOR ENTRY
15
15   FITNESS ANYWHERE LLC, a Delaware                 OF AN ORDER AUTHORIZING
16   limited liability company, dba TRX and TRX       DEBTORS TO HONOR AND/OR PAY
16
     Training,                                        PRE-PETITION WAGES, SALARIES,
17
17                                                    COMMISSIONS, AND VACATION,
             Debtor and Debtor in Possession.         LEAVE AND OTHER BENEFITS,
18
18   ____________________________________             AND REIMBURSEABLE EXPENSES;
                                                      AND   HONOR     AND/OR   PAY
19
19                                                    RELATED PAYROLL TAXES AND
20      Affects both Debtors                          WORKERS’       COMPENSATION
20
                                                      INSURANCE COSTS
21
21     Affects TRX Holdco, LLC only
                                                      DATE:       June 10, 2022
22
22      Affects Fitness Anywhere, LLC only            TIME:       10:00 a.m.
                                                      PLACE:      *Via ZoomGov
23
23                                                                Courtroom 5C
24
24                                                                411 West Fourth Street
                                                                  Santa Ana, CA 92701
25
25
26
26
27
27
28
28


                                                  1
     Case 8:22-bk-10948-SC          Doc 37 Filed 06/10/22 Entered 06/10/22 13:35:55                Desc
                                     Main Document Page 2 of 2


11            The Court held a hearing on June 10, 2022 at 10:00 a.m. to consider Debtors’ Emergency

22   Motion For Entry Of An Order Authorizing Debtors To Honor And/Or Pay Pre-Petition Wages,

33   Salaries, Commissions, And Vacation, Leave And Other Benefits, And Reimbursable Expenses,

44   And Honor And/Or Pay Related Payroll Taxes And Workers’ Compensation Insurance Costs

55   [Dkt. 13] (the “Motion”)1 filed by Fitness Anywhere LLC, dba TRX and TRX Training

66   (“Product Co”), debtor in possession in the above-captioned, jointly-administered Chapter 11

77   bankruptcy cases. Appearances were made as set forth on the record of the Court.

88            The Court, having considered the Motion and all papers filed by Product Co in support of

99   the Motion, the oral arguments and statements of counsel made at the hearing on the Motion,
10
10   proper notice of the Motion and the hearing on the Motion having been provided, no opposition
11
11   to the Motion having been filed with the Court or made at the hearing on the Motion, and for
12
12   good cause shown,
13
13            HEREBY ORDERS that:
14
14            1.      The Motion is granted.
15
15            2.      The Debtors are authorized to pay the Wages of the Debtors’ non-insider
16
16   employees and honor paid time off and leave benefits in the ordinary course of business,
17
17   provided that no such employee shall receive in value over $15,150 on account of pre-petition
18
18   claims for Wages.
19
19            3.      The Debtors are authorized to pay all taxes constituting, related to, or in
20
20   connection with, the Wages.
21
21            IT IS SO ORDERED
22
22                                                    ###
23
23
24
24           Date: June 10, 2022

25
25
26
26
27
27
     1
28
28       Capitalized terms not otherwise defined herein have the same meanings as in the Motion.



                                                      2
